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 4
 5                         UNITED STATES DISTRICT COURT

 6                       EASTERN DISTRICT OF WASHINGTON

 7
     UNITED STATES OF AMERICA,                       No. 2:14-CR-024-RMP-2
 8
 9                      Plaintiff,                   ORDER GRANTING
                                                     DEFENDANT’S UNOPPOSED
10 vs.                                               MOTION TO MODIFY
11
12 TERA KINARD,
13                      Defendant.
14         Before the Court is Defendant Tera Kinard’s Motion to Modify Conditions
15   of Pretrial Release. Pretrial Services does not object to the request; the United
16   States does not object, as long as the request is approved by Pretrial Services.
17         For good cause shown, Ms. Kinard’s Motion, ECF No. 42, is GRANTED.
18         Ms. Kinard is permitted to change her residence to that of her grandmother,
19   as described in her Motion to Modify, provided that Pretrial Services is provided
20   Defendant’s updated address and contact information, and is granted access to the
21   residence if necessary. All other terms and conditions of Defendant’s pretrial
22   release not inconsistent herewith to remain in full force and effect.
23         IT IS SO ORDERED.
24         DATED April 4, 2014.
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26                                   _____________________________________
                                               JOHN T. RODGERS
27                                    UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
